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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LORRAINE HARMER                            :
                                           :       CIVIL ACTION
               Plaintiff,                  :
                                           :       NO. ________________
       v.                                  :
                                           :
CONESTOGA VALLEY                           :
SCHOOL DISTRICT                            :       JURY TRIAL DEMANDED
     and                                   :
DR. DAVID ZUILKOSKI                        :
                                           :
               Defendants.                 :


                             CIVIL ACTION COMPLAINT

I.     Introduction

1.     Plaintiff Lorraine Harmer prosecutes this action against an employer after she applied

for publicly posted employment opportunities. Defendants excluded her from hire due to her

prior protected activities in violation of federal and state anti-discrimination law.

2.     Plaintiff’s claims specifically arise under 42 U.S.C. § 1983 (“Section 1983"), Title VII

of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq. (“Title VII”), the

Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12112-12117 (“ADA”), and the

Rehabilitation Act of 1973, 29 U.S.C. § 791 et seq. (“Rehab Act”). By refusing Plaintiff

employment by virtue of her prior discrimination claims against another employer,
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Defendants violated the anti-retaliation provisions of these laws.1


II.    Parties

3.     Plaintiff is an adult citizen of the United States. She lives in Chester County, in the

Commonwealth of Pennsylvania.

4.     Defendant Conestoga Valley School District (“CVSD”) is a public school entity

organized under the laws of the Commonwealth of Pennsylvania.

5.     CVSD provides educational services in Lancaster County, Pennsylvania, and

maintains a principal place of business in that county.

6.     At all times relevant herein, CVSD acted through its several agents, servants, and

employees (including but not limited to those named elsewhere in this Complaint), each of

whom acted in the course and scope of their employment for CVSD at all times relevant

herein. CVSD is therefore fully responsible for the illegal acts and omissions of the

aforesaid employees pursuant to the principle of respondeat superior.

7.     Defendant Dr. David Zuilkoski (“Zuilkoski”) has been the Superintendent of CVSD

at all times relevant to this complaint.


III.   Exhaustion of Administrative Remedies

8.     On August 23, 2021, Plaintiff timely filed her Charge of Discrimination with the



       1
         Defendants have also violated the anti-retaliation provisions of the Pennsylvania Human
Relations Act (“PHRA”). When Plaintiff’s claim under the PHRA become ripe (one year after her
administrative complaint), she will add it to this complaint.

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Philadelphia office of the U.S. Equal Employment Opportunity Commission (“EEOC”)

where it was assigned Charge No. 530-2021-04678.

9.     On January 5, 2022, Plaintiff timely filed her Amended Charge of Discrimination with

the EEOC.

10.    On March 15, 2022, the EEOC issued a Determination and Notice of Rights via email.

11.    The instant action is timely because it was initiated within ninety (90) days of the

receipt of the aforementioned Notice.

12.    Plaintiff timely filed this action and has complied with all administrative prerequisites

to bring this lawsuit.


III.   Jurisdiction and Venue

13.    The United States District Court for the Eastern District of Pennsylvania has original

subject matter jurisdiction over the instant action pursuant to 28 U.S.C. § 1331 because it

involves questions of federal law.

14.    This Court may properly maintain personal jurisdiction over Defendants because their

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction

over Defendants to comply with traditional notions of fair play and substantial justice,

satisfying the standard set forth by the United States Supreme Court in Int’l Shoe Co. v.

Washington, 326 U.S. 310 (1945) and its progeny.

15.    Venue is properly laid in the Eastern District of Pennsylvania pursuant to 28 U.S.C.

§§ 1391(b)(1) and (b)(2), because Defendants reside in and/or conduct business in this

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judicial district and because the acts and/or omissions giving rise to the claims set forth

herein occurred in this judicial district.


IV.    Factual Background

16.    In 2018 Plaintiff filed an EEOC Charge against her then-employer, Chester County

Intermediate Unit (“CCIU”), alleging discrimination on the basis of sex and disability, and

retaliation.

17.    Plaintiff later filed a lawsuit (“CCIU lawsuit”) in the Eastern District of Pennsylvania

predicated on the same claims. On February 12, 2021, the CCIU lawsuit was dismissed

because the CCIU and Plaintiff reached a settlement.

18.    Although CVSD is in Lancaster County, it contracts with CCIU for special education

services to be provided to CVSD students. Accordingly, Zuilkowski is well acquainted with

the CCIU Board and executive staff.

19.    Less than six months after Plaintiff’s lawsuit against CCIU concluded, Plaintiff’s

interactions with CVSD began. On or about June 29, 2021 she received an email from a job

posting site, PaEducator.net.

20.    The email was sent on behalf of CVSD’s high school principal, Dr. Michael Smith

(“Smith”). It stated in part, “Conestoga Valley High School is in need of two (2) long-term

math substitutes for the fall semester. If you are interested contact me . . . .”

21.    That same day, June 29, 2021, Plaintiff emailed Smith to express her interest in a

long-term math substitute position.

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22.    On July 6, 2021, Plaintiff was interviewed by Smith and high school Assistant

Principal Dawn Eby (“Eby”). Smith explained the circumstances resulting in the need for

each position.

23.    One opening was necessitated due to a maternity leave, and might become permanent

if the teacher did not return. Smith indicated that position focused on teaching Algebra.

24.    Plaintiff holds decades of experience teaching Algebra. She discussed this with Smith

and Eby during the interview.

25.    After the interview, still on July 6, 2021, Plaintiff emailed a thank-you note to Smith

and Eby. Plaintiff included copies of two annual performance ratings from her time

employed with CCIU wherein she was rated as a “distinguished” educator (the highest

possible rating).

26.    On July 13, 2021, Smith informed Plaintiff via email that she was advancing to the

next step of the application process. Smith requested professional references. Plaintiff

provided Smith with two references to contact - one a previous supervisor and the other her

previous evaluating professor.

27.    On July 15, 2021, Smith informed Plaintiff via email of a job offer, “Please call me

on my cell phone when free . . . we would like to offer you one of the LTS [long-term

substitute] positions for the fall if you are still interested.”

28.    On July 16, 2021, Smith and Plaintiff spoke on the phone to discuss the specifics of

the offer relative to the position teaching Algebra. Smith reiterated the potential for the


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position to become permanent. Plaintiff posed some questions regarding carry-over of time,

step and column placement on CVSD’s salary scale, and related issues.

29.    Smith was unsure of the answers to Plaintiff’s specific questions and said he would

inquire with Zuilkoski.

30.    Plaintiff memorialized the discussion via email to Smith the following day, July 17,

2021. At all times, Plaintiff expressed enthusiasm and excitement about the position.

31.    On July 19, 2021, Smith informed Plaintiff via email that he is waiting to hear back

from Zuilkoski regarding her pending questions.

32.    On July 20, 2021, Smith and Zuilkoski exchange emails referring to Plaintiff as “this

woman.” In the email string, Smith asks Zuilkoski for responses to Plaintiff’s questions.

33.    On July 21, 2021 at 9:52 a.m., Smith sent an email to Plaintiff. The email stated in

part, “I am still working through this with my Superintendent [Zuilkoski]. I am not sure we

ever discussed, but why did you resign from the CCIU in February?”

34.    Nine minutes later, at 10:01 a.m. on July 21, 2021, Plaintiff received a blast email

from PaEducator.net, sent on behalf of Smith. The email announced CVSD’s need for “a 1st

semester long term substitute.”

35.    CVSD’s July 21st blast email pertained to, and was seeking applicants for, the position

it already offered to Plaintiff.

36.    This blast email was sent out even before Plaintiff was able to respond to Smith’s

email of nine minutes earlier inquiring about her resignation from CCIU.


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37.    Later that day - July 21st at 12:26 p.m. - a CCIU agent, Sue Kerr (“Kerr”) emailed

CCIU Director of Human Resources, Danielle Schoeninger (“Schoeninger”) and Maureen

Linahan regarding a request by CVSD for an employment reference about Plaintiff.

38.    According to CCIU, Eby of CVSD contacted Kerr by phone regarding Plaintiff.

39.    Kerr offered to verify Plaintiff’s employment over the phone but Eby indicated

verification of employment alone would be inadequate. Eby sought additional information,

but Kerr did not know the specific information Eby sought.

40.    That evening (July 21st), at 6:01 p.m., Plaintiff responded to Smith’s inquiry about

why she resigned from CCIU. Plaintiff stated she resigned from the CCIU because she “felt

it was in her best interests to move on from the CCIU and they were cool with it.”

41.    That evening (July 21st), at 8:35 p.m., Plaintiff sent an email to Smith regarding the

blast email she had received earlier that day about a LTS math position. Plaintiff expressed

her continued interest in working for CVSD.

42.    On July 27, 2021, Plaintiff again inquired about the position she had already been

offered.

43.    On July 28, 2021, Smith informed Plaintiff of plans to “make some final decisions”

the next week.

44.    On August 3, 2021, Plaintiff again inquired about the position she had already been

offered.

45.    On August 4, 2021, Smith informed Plaintiff via email that CVSD had now offered


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to another applicant the position it had already offered to Plaintiff. Smith described the other

applicant as someone, “who we feel is a better fit for our district at this time.”

46.    CVSD later admitted Zuilkoski was the one to overrule Smith’s recommendation to

hire Plaintiff.

47.    The applicant Defendants felt was a “better fit” had objectively measured credentials

far inferior to Plaintiff’s. The “better fit” only had an Instructional I provisional certificate

since June 1, 2021. So the “better fit” had been certified for about two months.

48.    In contrast, Plaintiff possesses an Instructional II permanent certificate.           An

Instructional II certificate is granted only after years of demonstrated successful professional

performance. Plaintiff’s Instructional I had been issued to her in 1997.

49.    Plaintiff held decades of experience teaching algebra while the “better fit” completed

her teaching degree just prior to her application.

50.    The “better fit” holds just a bachelor’s degree, as evidenced by her placement on the

step scale. Plaintiff possesses two master’s degrees.

51.    More recently, in December 2021, Plaintiff applied for three positions publicly posted

by CVSD. The first was a permanent High School Math Teacher position, the second a

Supplemental Learning Support Teacher, and the third an Autistic Support Teacher.

52.    On December 28, 2021, Plaintiff received a voicemail from Administrative Assistant

for CVSD, Sheri Hostetter (“Hostetter”). Hostetter stated CVSD’s Middle School Principal

wanted to interview Plaintiff for the two latter positions.


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53.     Plaintiff called Hostetter and scheduled an interview for January 4, 2022 at 8:00 a.m.

Plaintiff asked Hostetter to confirm whether Zuilkoski would support or object to any

recommendation for her hire - since Zuilkoski reversed Smith’s offer to Plaintiff.

54.     On December 29, 2021, Plaintiff received an email from the CVSD solicitor that her

interview scheduled for the two separate positions was canceled. In doing so, it was made

clear that CVSD will exclude Plaintiff from employment opportunities indefinitely.



             FIRST CAUSE OF ACTION (AGAINST CVSD ONLY)
      RETALIATION FOR PROSECUTING PRIOR DISCRIMINATION CLAIM

55.     As made plain in the above averments, CVSD has knowingly, intentionally and

maliciously denied Plaintiff employment on account of her earlier discrimination case against

CCIU. CVSD’s actions were taken with a reckless disregard for Plaintiff’s right to be free

from retaliation.

56.     CVSD’s conduct violates the anti-retaliation provisions of Title VII, the ADA and the

Rehab Act.

57.     As a result of CVSD’s unlawful conduct, Plaintiff has suffered pecuniary losses,

substantial emotional distress, humiliation, inconvenience and other non-pecuniary losses.


              SECOND CAUSE OF ACTION (AGAINST CVSD ONLY)
                      DISABILITY DISCRIMINATION

58.     Upon learning of Plaintiff’s prior discrimination case against CCIU, CVSD became

aware of Plaintiff’s disabilities.

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59.    By making up phony reasons for denying Plaintiff employment, CVSD has revealed

its true intention was to deny Plaintiff employment on account of her disabilities.

60.    CVSD’s actions to knowingly, intentionally and maliciously deny Plaintiff

employment on account of her disabilities violates the ADA and the Rehab Act. CVSD’s

actions were taken with a reckless disregard for Plaintiff’s right to be free from disability

discrimination, as those laws so proscribe.

61.    As a result of CVSD’s unlawful conduct, Plaintiff has suffered pecuniary losses,

substantial emotional distress, humiliation, inconvenience and other non-pecuniary losses.


                      THIRD CAUSE OF ACTION
        (AGAINST ZUILKOSKI IN HIS INDIVIDUAL CAPACITY ONLY)
            VIOLATION OF THE FOURTEENTH AMENDMENT
                TO THE UNITED STATES CONSTITUTION

62.    As the CVSD Superintendent, Zuilkoski’s actions as taken toward Plaintiff were taken

under color of state law.

63.    Plaintiff’s right to Equal Protection as guaranteed by the Fourteenth Amendment to

the United States Constitution includes the right to be free from state-created sex

discrimination.

64.    In particular, by denying Plaintiff employment due to her prior sex discrimination

claim against CCIU, Zuilkoski violated Plaintiff’s right to Equal Protection as guaranteed by

the Fourteenth Amendment to the U.S. Constitution.

65.    Plaintiff is entitled to seek redress for the harms caused by Zuilkoski’s violation of her


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Fourteenth Amendment rights pursuant to 42 U.S.C. § 1983.

66.    Section 1983 provides, in relevant part:

        Every Person who, under color of any statute, ordinance, regulation,
        custom, or usage, of any State or Territory or the District of Columbia,
        subjects, or causes to be subjected, any citizen of the United States or other
        person within the jurisdiction thereof to the deprivation of any rights,
        privileges or immunities secured by the Constitution and laws, shall be
        liable to the party injured in an action at law, suit in equity, or other proper
        proceeding for redress ….

        42 U.S.C. § 1983.

67.    Because Zuilkoski violated a right secured by the Constitution or laws of the United

States, and acted under color of state law in so doing so, Plaintiff is entitled to judgment

against Zuilkoski under Section 1983.

68.    As a result of this Fourteenth Amendment violation, Plaintiff suffered damages

including, but not limited to, denial of employment, harm to reputation, lost wages, lost

fringe benefits, lost seniority, emotional pain and suffering, and loss of enjoyment of life.

69.    Zuilkoski’s actions as complained of above were willful, wanton, malicious, and/or

were made in reckless disregard of Plaintiff’s civil rights.


WHEREFORE, upon entering judgment in favor of Plaintiff and against CVSD on the First

and Second Causes of Action, and against Zuilkoski (in his individual capacity) on the Third

Cause of Action, Plaintiff prays that this Court enter an additional order providing as follows:

A.     CVSD and Zuilkoski are to be permanently enjoined from discriminating and/or

       retaliating against Plaintiff on any basis proscribed by the Fourteenth Amendment,

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     Title VII, the ADA, the Rehab Act and other applicable federal and state laws;

B.   CVSD and Zuilkoski are to promulgate and/or adhere to a policy prohibiting such

     violations, and are to ensure this policy is enforced;

C.   CVSD and Zuilkoski are to compensate Plaintiff, reimburse Plaintiff, and make

     Plaintiff whole for any and all pay and benefits Plaintiff would have received had it

     not been for their illegal actions, including but not limited to back pay, front pay,

     interest, salary, pay increases, bonuses, insurance, benefits, training, promotions, lost

     401K or retirement benefits, and seniority.

D.   Plaintiff is to be awarded compensatory damages for the pain, suffering, and

     humiliation caused by actions of CVSD and Zuilkoski;

E.   Zuilkoski is to pay punitive damages to Plaintiff as permitted by Section 1983, in an

     amount believed by the trier of fact to be appropriate to punish him for his willful,

     deliberate, malicious, reckless and outrageous conduct, and to deter him and other

     officials who act individually under the color of state law from engaging in such

     misconduct in the future;

F.   Plaintiff is to be awarded the costs and expenses of this action and reasonable

     attorneys’ fees as provided by applicable federal and state law;

G.   This Court should grant any and all other such legal, injunctive and/or equitable relief

     as it deems necessary, just and appropriate;

H.   This Court should maintain jurisdiction over the instant action to ensure full


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         compliance with its Orders therein until such time it is satisfied that its Orders and

         dictates have been complied with in full by Defendants.



REQUEST FOR JURY TRIAL

Plaintiff hereby makes her request for a jury trial for all claims raised in this action.



                                            Respectfully submitted,

                                            WEINSTEIN LAW FIRM, LLC

                                     By:    /s/ Marc E. Weinstein
                                            Marc E. Weinstein, Esquire
                                            500 Office Center Drive
                                            Suite 400
                                            Fort Washington, PA 19034
                                            267.513.1942
                                            marc@meweinsteinlaw.com
                                            Counsel to Plaintiff


Dated:                 25 , 2022
                April ___




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JS 44 (Rev. 10/20)                 Case 5:22-cv-01595-JLS
                                                     CIVILDocument
                                                           COVER1SHEET
                                                                   Filed 04/25/22 Page 14 of 15
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
                                                                                                           CONESTOGA VALLEY SCHOOL DISTRICT & DR. DAVID
          LORRAINE HARMER
                                                                                                           ZUILKOWSKI (IN HIS INDIVIDUAL CAPACITY ONLY)
    (b)   County of Residence of First Listed Plaintiff            CHESTER                                 County of Residence of First Listed Defendant LANCASTER
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

          Marc E. Weinstein WEINSTEIN LAW FIRM, LLC 500
          Office Center Dr., Ste. 400, Ft. Washington, PA 19034
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖ 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

    2   U.S. Government                  4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                     315 Airplane Product                Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument               Liability                  367 Health Care/                                                                                     400 State Reapportionment
    150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment           Slander                        Personal Injury                                                 820 Copyrights                   430 Banks and Banking
    151 Medicare Act                   330 Federal Employers’              Product Liability                                               830 Patent                       450 Commerce
    152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
         Student Loans                 340 Marine                          Injury Product                                                      New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)           345 Marine Product                  Liability                                                       840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                       362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                           Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖ 442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                           Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                       446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                           Other                       550 Civil Rights                  Actions                                                                State Statutes
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                              (specify)                 Transfer                          Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          42 U.S.C. sec. 2000e (Title VII of the Civil Rights Act of 1964, as amended)
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Unlawful Retaliation
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                         JUDGE                                                                DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
Apr 25, 2022                                                           /s/ Marc E. Weinstein
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
                            Case 5:22-cv-01595-JLS  Document
                                               UNITED           1 Filed
                                                      STATES DISTRICT   04/25/22 Page 15 of 15
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                            122 Chestnut Hill Drive, Parkesburg, PA 19365 (CHESTER COUNTY, PA)
Address of Plaintiff: ______________________________________________________________________________________________
                          2110 Horseshoe Road, Lancaster, PA 17601 (LANCASTER COUNTY, PA)
Address of Defendant: ____________________________________________________________________________________________
                                                                    CHESTER COUNTY, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      04/25/2022
DATE: __________________________________                                     0XVWVLJQKHUH
                                                             __________________________________________                                     74474
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

            Marc E. Weinstein
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

     ✔        Relief other than monetary damages is sought.


      04/25/2022
DATE: __________________________________                                   6LJQKHUHLIDSSOLFDEOH
                                                             __________________________________________                                     79474
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
